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 7

 8                                 IN THE DISTRICT COURT OF GUAM

 9
     UNITED STATES OF AMERICA,                           CRIMINAL CASE NO. 20-00021
10
                                   Plaintiff.
11
                   vs.
12                                                                     ORDER
     RICKY JAMES JR. SALAS SANTOS,                       Granting Motion for Extension of Time
13                                                        to Provide Discovery (ECF No. 11)
                                   Defendant.
14

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16          Upon review of the United States’ Motion for Extension of Time to Provide Discovery and for
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     good cause shown, the court grants said motion and orders that the United States shall have until
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     October 1, 2020, to provide the Defendant with the additional discovery obtained from a search of the
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     three electronic devices described in the motion.
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21          IT IS SO ORDERED.
                                                                            /s/ Michael J. Bordallo
22                                                                              U.S. Magistrate Judge
                                                                            Dated: Sep 11, 2020
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